                   Case 23-50068-MFW                Doc 11       Filed 07/13/23        Page 1 of 8




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                                Chapter 7

    ARMSTRONG FLOORING, INC., et al.,                                     Case No. 22-10426 (MFW)

                                       Debtors.1                          (Jointly Administered)
    Armstrong Flooring, Inc.

                                       Plaintiff,
    vs.                                                                   Adv. Proc. No. 23-50068 (MFW)

    TBL Services, Inc., and Total Transportation of
    Mississippi LLC,

                                       Defendants.

             CERTIFICATION OF COUNSEL REQUESTING EXTENSION OF TIME
                  FOR DEFENDANT TO RESPOND TO THE COMPLAINT

             I, Peter J. Keane, of Pachulski Stang Ziehl & Jones LLP, counsel for counsel for Alfred T.

Giuliano, chapter 7 trustee (the “Plaintiff” or “Trustee”) to the estate in the above-captioned

adversary proceeding (the “Adversary Proceeding”), hereby certify as follows:

             1. On or about January 30, 2023, Armstrong Flooring, Inc.2 initiated the Adversary

Proceeding by the filing of an adversary Complaint to Avoid Transfers Pursuant to 11 U.S.C. §§

547, 548 and 502 and to Recover Property Transferred Pursuant to 11 U.S.C. § 550 (the

“Complaint”) [Docket No. 1] against, among others, TBL Services, Inc. (the “Defendant” together

with Plaintiff the “Parties”).




1
    The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification numbers,
    are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring Latin America,
    Inc. (2943); and Armstrong Flooring Canada Ltd. (N/A).

2
    The Adversary Proceeding was originally filed by the Debtors. On April 17, 2023, their chapter 11 cases were
    converted to ones under chapter 7 of the Bankruptcy Code, and the Trustee is now the Plaintiff as the successor in
    interest.
              Case 23-50068-MFW           Doc 11     Filed 07/13/23     Page 2 of 8




       2. On or about February 2, 2023, a Summons and Notice of Pretrial Conference in an

Adversary Proceeding (the “Summons”) [Docket No. 3] was filed.

       3. The Parties have engaged in discussions concerning a potential resolution of the

Adversary Proceeding and have agreed to continue these discussions prior to requiring Defendant

to file its answer or other response to the Complaint. Accordingly, the Parties have agreed that the

time within which Defendant may answer, move or otherwise plead to the Complaint should be

extended to and including August 5, 2023. The Parties have memorialized their agreement in the

Stipulation Extending Time for Defendant to Respond to the Complaint (the “Stipulation”).

       4.      Attached hereto as Exhibit A is a proposed order (the “Order”) approving the

Stipulation. A copy of the Stipulation is attached to the Order as Exhibit 1.

       WHEREFORE, the Parties respectfully request entry of the Order.




                                                 2
             Case 23-50068-MFW   Doc 11   Filed 07/13/23   Page 3 of 8




Dated: July 12, 2023
                                          PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ Peter J. Keane
                                          Bradford J. Sandler (DE Bar No. 4142)
                                          Peter J. Keane (DE Bar No. 5503)
                                          Edward A. Corma (DE Bar No. 6718)
                                          919 N. Market Street, 17th Floor
                                          P.O. Box 8705
                                          Wilmington, DE 19899 (Courier 19801)
                                          Telephone: (302) 652-4100
                                          Facsimile: (302) 652-4400
                                          Email: bsandler@pszjlaw.com
                                                  pkeane@pszjlaw.com
                                                  ecorma@pszjlaw.com

                                          -and-

                                          ASK LLP
                                          Joseph L. Steinfeld, Jr., Esq., MN SBN 0266292
                                          Kara E. Casteel, Esq., MN SBN 0389115
                                          2600 Eagan Woods Drive, Suite 400
                                          St. Paul, MN 55121
                                          Telephone: (651) 289-3846
                                          Email: kcasteel@askllp.com

                                          Counsel for Alfred T. Giuliano,
                                          Chapter 7 Trustee of Armstrong Flooring,
                                          Inc., et al.




                                      3
Case 23-50068-MFW   Doc 11   Filed 07/13/23   Page 4 of 8




             EXHIBIT “A”
                Case 23-50068-MFW             Doc 11    Filed 07/13/23      Page 5 of 8




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                                         Chapter 7

 ARMSTRONG FLOORING, INC., et al.,                              Case No. 22-10426 (MFW)

                                 Debtors.                       (Jointly Administered)
 Armstrong Flooring, Inc.

                                 Plaintiff,
 vs.                                                            Adv. Proc. No. 23-50068 (MFW)

 TBL Services, Inc., and Total Transportation of
 Mississippi LLC,

                                 Defendants.

              ORDER APPROVING STIPULATION FOR EXTENSION OF TIME
                 FOR DEFENDANT TO RESPOND TO THE COMPLAINT

          AND NOW upon consideration of the Stipulation for Extension of Time for Defendant to

Respond to the Complaint (the “Stipulation”) between Alfred T. Giuliano, chapter 7 trustee (the

“Plaintiff” or “Trustee”) to the estate in the above-captioned adversary proceeding and TBL

Services, Inc. (the “Defendant”) attached hereto as Exhibit “1”; the Court having determined that no

further notice of the Stipulation must be given; it is hereby

          ORDERED that the Stipulation is hereby APPROVED, and it is

          FURTHER ORDERED that the time within which Defendant may answer, move or otherwise

plead to the Complaint is hereby further extended to and including August 5, 2023.
Case 23-50068-MFW   Doc 11   Filed 07/13/23   Page 6 of 8




               EXHIBIT “1”
                    Case 23-50068-MFW               Doc 11       Filed 07/13/23        Page 7 of 8




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                                Chapter 7

    ARMSTRONG FLOORING, INC., et al.,                                     Case No. 22-10426 (MFW)

                                       Debtors.1                          (Jointly Administered)
    Armstrong Flooring, Inc.

                                       Plaintiff,
    vs.                                                                   Adv. Proc. No. 23-50068 (MFW)

    TBL Services, Inc., and Total Transportation of
    Mississippi LLC,

                                       Defendants.

                           STIPULATION FOR EXTENSION OF TIME FOR
                          DEFENDANT TO RESPOND TO THE COMPLAINT

             Alfred T. Giuliano, chapter 7 trustee (the “Plaintiff” or “Trustee”) to the estate in the above-

captioned adversary proceeding, and TBL Services, Inc. (the “Defendant” and, together with

Plaintiff, the “Parties”), through their respective counsel, enter into this Stipulation for Extension

of Time for Defendant to Respond to the Complaint (the “Stipulation”) and hereby stipulate and

agree as follows:

             1.     The Parties agree and stipulate that the time within which Defendant may answer,

move, or otherwise plead to the Complaint [D.I. 1] is hereby further extended to and including

August 5, 2023.




1
    The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification numbers,
    are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring Latin America,
    Inc. (2943); and Armstrong Flooring Canada Ltd. (N/A).
            Case 23-50068-MFW        Doc 11      Filed 07/13/23   Page 8 of 8




Dated: July 7, 2023                               Dated: July 7, 2023

PACHULSKI STANG ZIEHL & JONES LLP                 WHITEFORD TAYLOR & PRESTON LLP

/s/ Peter J. Keane                                /s/ Richard W. Riley
Bradford J. Sandler (DE Bar No. 4142)             Richard W. Riley (No. 4052)
Peter J. Keane (DE Bar No. 5503)                  600 North King Street, Suite 300
Edward A. Corma (DE Bar No. 6718)                 Wilmington, Delaware 19801
919 N. Market Street, 17th Floor                  Telephone: (302) 353-4144
P.O. Box 8705                                     Email: rriley@whitefordlaw.com
Wilmington, DE 19899 (Courier 19801)
Telephone: (302) 652-4100                         -and-
Facsimile: (302) 652-4400
Email: bsandler@pszjlaw.com                       David W. Gaffey, Esq.
        pkeane@pszjlaw.com                        3190 Fairview Park Drive, Suite 800
        ecorma@pszjlaw.com                        Falls Church, Virginia 22042-4510
                                                  Telephone: (703) 280-9260
-and-                                             Email: dgaffey@whitefordlaw.com

ASK LLP                                           Counsel for TBL Services, Inc.
Joseph L. Steinfeld, Jr., Esq., MN SBN 0266292
Kara E. Casteel, Esq., MN SBN 0389115
2600 Eagan Woods Drive, Suite 400
St. Paul, MN 55121
Telephone: (651) 289-3846
Email: kcasteel@askllp.com

Counsel for Alfred T. Giuliano,
Chapter 7 Trustee of Armstrong Flooring,
Inc., et al.




                                            2
